927 F.2d 595Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Aaron HOLSEY, Plaintiff-Appellant,v.Merry COPLIN, Individually and as Warden of the RDCCBuilding located at Madison Street and Greenmount Avenue,Jon P. Galley, Individually and as Commissioner of theDivision of Corrections for the State of Maryland, James P.Tinney, Individually and as Warden of the CorrectionalInstitution at Hagerstown, Maryland, Marlin Bachtell,Individually and as Warden of the Correctional TrainingCenter at Hagerstown, Maryland, Ronald Hough, Lieutenant,Individually and as Commander of the D.O.C. TransportationUnit at 519 East Eager Street, Defendants-Appellees.
    No. 90-6159.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 25, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-83-883-K)
      Aaron Holsey, appellant pro se.
      Ronald Mark Levitan, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Aaron Holsey appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Holsey v. Coplin, CA-83-883-K (D.Md. Aug. 2, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  Holsey's request for appointment of counsel is denied.
    
    
      2
      AFFIRMED.
    
    